                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION

                                  Case No. 7:2 1-CV-00059-M
    SHAWN LA'DERRICK HILL,                       )
                                                 )
            Plaintiff,                           )
                                                 )
    V.                                           )
                                                 )                       ORDER
    J.  M.      BUONICONTI,    individually,     )
    EDWARD J. MCMAHON, officially as the         )
    Sheriff of New Hanover County, and THE       )
    OHIO       CASUALTY       INSURANCE          )
    COMPANY, as part of LIBERTY                  )
    MUTUAL GROUP, INC.,                          )
                                                 )
            Defendants.                          )

         This matter comes before the court on motions to dismiss filed by Defendant Edward J.

McMahon (Sherriff McMahon) [DE 33), Defendant Ohio Casualty Insurance Company (Ohio

Casualty), [DE 40), and Defendant J.M. Buoniconti (Officer1 Buoniconti) [DE 44). This is a case

of mistaken identity. Plaintiff Shawn La' Derrick Hill (Plaintiff) alleges that he was arrested and

detained for more than two weeks based on a fugitive warrant issued for another man before the

error was recognized.

         Plaintiff claims that Officer Buoniconti violated his Fourth Amendment rights by arresting

him on an unreasonable belief that he was the subject of that arrest warrant. He also claims that

Sheriff McMahon and his officers acted negligently under North Carolina law by failing to




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 Defendant J.M. Buoniconti's filings most often identify him as "Officer Buoniconti," so the court
uses that title. Compare DE 45 at 2- 3 (referring to the moving defendant as "Officer Buoniconti"
several times), with id. at 11 (referring to him as "Investigator Buoniconti" once).



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investigate his claims of innocence during his pretrial detention. Finally, he brings a statutory

claim against Ohio Casualty as the issuer of Sheriff McMahon's surety bond. Defendants move

to dismiss Plaintiff's claims under Federal Rule of Civil Procedure 12(b)(6). These motions have

been fully briefed and no hearing is necessary to resolve them.

        The court denies Officer Buoniconti's motion to dismiss Plaintiff's claim under 42 U.S.C.

§ 1983 but grants in part and denies in part what it construes to be a motion to strike Plaintiff's

request for punitive damages.      The court grants Sheriff McMahon's motion and dismisses

Plaintiff's claim against him without prejudice. Plaintiff's statutory claim against Ohio Casualty

cannot proceed without his underlying claim against Sheriff McMahon, so the court grants Ohio

Casualty's motion as well.

   I.      Background
        A. FactualAllegations
        Plaintiff makes the following factual allegations- as distinct from legal conclusions or

unsupported inferences- which the court accepts as true. See King v. Rubenstein, 825 F.3d 206,

212 (4th Cir. 2016).

        Plaintiff's Arrest at the Port of Wilmington: Plaintiff is a truck driver from Augusta,

Georgia. DE 30 mf 1, 7. On April 22, 2019, he drove to the Port of Wilmington (the Port) to pick

up a load for his employer. See id. ,i 7. When he arrived at the Port's entrance, he provided his

Transportation Worker Identification Credential (TWIC) to a security officer at the checkpoint.

See id. ,i 8 (explaining that this card is a "form of government clearance"). His TWJC shows his

full name "Shawn La'Derrick Hill." See id. After scanning this card, the security officer contacted

the police department affiliated with the North Carolina State Ports Authority. See id. ,i 9.

        Within "moments," Officer Buoniconti responded to the Port's entrance and told Plaintiff

that he was "going to be placed into custody." See id. ,i 10. Officer Buoniconti moved Plaintiff


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into a processing room at the back of the Port and told him that there was an outstanding fugitive

warrant from St. Louis, Missouri pertaining to felony forgery charges issued against him.

See id.   ,r I I.   "Shocked," Plaintiff told Officer Buoniconti "that's impossible" and asked, "are you

sure you have the right person?" See id. ,r 12. Offic.er Buoniconti did not have the right person-

the warrant had been issued for a different "Shawn L. Hill." See id.           ffll 13, 30.
          Officer Buoniconti looked at a photo of that fugitive and told Plaintiff that the name listed

on the warrant was "Shawn L. Hill." See id.          ,r 13.   Officer Buoniconti then asked Plaintiff for his

social security number to compare with that listed on the fugitive warrant. See id.              ,r 14.   Plaintiff

provided his social security card as well as two other government-issued identification cards

bearing his photograph. See id. ,r 15. All three cards state Plaintiffs full name "Shawn La'Derrick

Hill." See id.

          After reviewing these cards, Officer Buoniconti stated that something was "not right"

because Plaintiffs social security card did not match the social security number on the fugitive

warrant. See id.       ,r 16.   Still, he continued detaining Plaintiff. See id.   ,r 17.   Plaintiff asked, "so

you're going to arrest me and all you have to go on is the name?" See id. ,r 18. Plaintiff continued

to profess his innocence, asking "[s]o the next person you pull over named Shawn L. Hill, you're

going to arrest him too?" See id. Despite having noticed this discrepancy, see id. ,i 17, Officer

Buoniconti responded "I have to lock you up based on what I got," id. ,i 19.

          Plaintiff then asked if Officer Buoniconti was "at least going to fingerprint [him]," but was

told "no, because of what the computer said, you guys are a close match, I'm taking you to the

county jail." See id.      ffll 20-21.   Officer Buoniconti contacted the New Hanover County Sheriffs

Office to let them know he would be taking Plaintiff to the New Hanover County Jail in connection




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with an outstanding warrant. See id. ,i 22. He ignored Plaintiff's continued attempts to convince

him that the warrant identified a different "Shawn L. Hill." See id. ,i 23.

        Plaintiff's Detention at the New Hanover County Jail: Officer Buoniconti told at least

one of Sheriff McMahon's officers that he had been taken into custody on an outstanding fugitive

warrant from Missouri. See id. ,i 25. That same day, a magistrate ordered that Plaintiff be

committed to the New Hanover County Jail. See id. ,i 26; see also DE 30-1.2 The magistrate's

order further advised Plaintiff that "[his] release is not authorized," and stated that "prior to release,

[he] shall provide his ... fingerprints." See DE 30-1 (including these directives, along with the

order that "[Plaintiff] is required to provide fingerprints under G.S. 15A-502," within the portion

of the order directed ''To The Defendant Named Above"). In the "Order of Commitment," the

magistrate directed Sheriff McMahon to receive Plaintiff into his custody and "produce [him] to

the Court as provided above." See id.

        Plaintiff''was then placed into the New Hanover County Jail." DE 30 ,i 27. He "stated his

innocence more than once, explained that he had not been fingerprinted by [Officer] Buoniconti,

and offered to show more than one of [Sheriff] McMahon's officers" his social security card and

Georgia driver's license. See id. Sheriff McMahon's officers did not believe him. Id.

        Plaintiff contacted his sister for help after a week in jail and "several fai led attempts to

prove his innocence." See id. ,i 27. His sister contacted the Clerk's Office at the Circuit Court of

St. Louis County, Missouri and obtained more information about the fugitive warrant "within

hours" of doing so. See id. ,i 28. She provided this to "the respective Public Defender's Office in




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 This court may consider the magistrate's Conditions of Release and Release Order attached to
Plaintiff's Complaint as an exhibit. See Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 166 (4th
Cir. 2016).



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North Carolina." See id. ,i 29.        At some point, Sheriff McMahon's officers reviewed the

information Plaintiffs sister had obtained and fingerprinted him. See id. ,i 30. "The results

revealed that Plaintiff was not the ' Shawn L. Hill' who was the subject of the outstanding fugitive

warrant." See id. Plaintiff was then released after having spent two weeks and one day in the New

Hanover County Jail. See id. ,i 3 1.

       B. Procedural History
       Plaintiff initiated this action less than two years after his arrest. His initial complaint, filed

April 7, 2021, named New Hanover County, the New Hannover County Sheriffs Department, and

Officer Buoniconti as defendants. See DE 1. After the county and sheriff's department jointly

moved to dismiss this complaint, see DE 11 , Plaintiff filed an amended complaint naming Officer

Buoniconti, SheriffMcMahon, and The Travelers Companies, Inc. as defendants, see DE 20. After

Sheriff McMahon moved to dismiss this first amended complaint, see DE 28, Plaintiff again

amended his complaint to· substitute Ohio Casualty for The Travelers Companies as the correct

issuing surety of Sheriff McMahon's bond, see DE 30. Defendants direct their instant motions at

this second amended complaint (the Complaint).

       Plaintiffs Complaint includes three claims: (1) unreasonable seizure in violation of the

Fourth Amendment against Officer Buoniconti in his individual capacity under 42 U.S.C. § 1983,

see DE 30 ff 35-41 ; (2) negligence against Sheriff McMahon in his official capacity under North

Carolina common law, see DE 30 ff 42-46; and (3) an action on the surety bond issued to Sheriff

McMahon against Ohio Casualty under N.C. Gen. Stat. §§ 58-76-5 and 162-50, see DE 30 ,i,i 47-

49. Plaintiff emphasizes that he ''has raised only one claim against [Officer] Buoniconti, and that

Fourth Amendment claim is against [Officer] Buoniconti [in] his individual capacity." See DE 52

at 2 n. l. He also acknowledges that his statutory claim against Ohio Casualty "rise[s] and fall[ s]




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upon the validity of' his underlying negligence claim against Sheriff McMahon. See DE 43 at 2

(citing DE 41 at 4) (adopting this position as the basis for submitting a joint response to these

Defendants' motions).

          Sheriff McMahon moves to dismiss the negligence claim brought against him in the second

amended complaint under Federal Rule of Civil Procedure 12(b)(6), see DE 33, and submitted a

supporting memorandum, see DE 34. Ohio Casualty also moves to dismiss the statutory claim

brought against it under Rule 12(b)(6), see DE 40, and adopts Sheriff McMahon's arguments, see

DE 41 at 3-4. Plaintiff filed a joint response in opposition, see DE 43, to which Sheriff McMahon

and Ohio Casualty jointly replied, see DE 49. Finally, Officer Buoniconti moves to dismiss

Plaintiffs Fourth Amendment claim under Rule 12(b)(6),3 see DE 44, and submitted a supporting

memorandum, see DE 45. Plaintiff responded in opposition. See DE 52.

    II.      Legal Standards
          A. Procedural Standards
          Rule 8 of the Federal Rules of Civil Procedure requires a pleading to contain "a short and

plain statement of the claim showing that the pleader is entitled to relief[.]" Fed. R. Civ. P. 8(a)(2).

A defendant against whom a claim has been brought can challenge a pleading's sufficiency under

Rule 8 by moving the court under Rule 12(b)(6) to dismiss the pleading for "failure to state a claim

upon which relief can be granted[.]" Fed. R. Civ. P. 12(b)(6).

          When considering a Rule 12(b)(6) motion to dismiss, the court must accept as true all of

the well-pleaded factual allegations contained within the complaint and must draw all reasonable

inferences in the plaintiffs favor, see Hall v. DIRECTV, LLC, 846 F.3d 757, 765 (4th Cir. 2017),



3 The court need not address Officer Buoniconti's arguments that any claims brought against him
in his official capacity should be dismissed under Rules 12(b)(1) and (b)(2), see DE 45 at 15- 17,
as the Complaint includes no such claims, see DE 301 36-41; DE 52 at 2 n.1.


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but any legal conclusions proffered by the plaintiff need not be accepted as true, see Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) ("[T]he tenet that a court must accept as true all of the allegations

contained in a complaint is inapplicable to legal conclusions. Threadbare recitals of the elements

of a cause of action, supported by mere conclusory statements, do not suffice."). The Iqbal Court

made clear that "Rule 8 marks a notable and generous departure from the hypertechnical,

code-pleading regime of a prior era, but it does not unlock the doors of discovery for a plaintiff

armed with nothing more than conclusions." See id. at 678- 79.

          To survive a Rule 12(b)(6) motion, the plaintiffs well-pleaded factual allegations, accepted

as true, must "state a claim to relief that is plausible on its face." Bell At!. Corp. v. Twombly, 550

U.S. 544, 570 (2007). Twombly's plausibility standard requires that a plaintiffs well-pleaded

factual allegations "be enough to raise a right to relief above the speculative level," i.e., allege

"enough fact to raise a reasonable expectation that discovery will reveal evidence of illegal

[conduct]." See id. at 555-56. A speculative claim resting on conclusory allegations without

sufficient factual enhancement cannot survive a Rule 12(b)(6) challenge. See Iqbal, 556 U.S. at

678-79 (quoting Fed. R. Civ. P. 8(a)(2)) ("where the well-pleaded facts do not permit the court to

infer more than the mere possibility of misconduct, the complaint has alleged- but it has not

'show[n]'-'that the pleader is entitled to relief."'); Francis v. Giacomelli, 588 F.3d 186, 193 (4th

Cir. 2009) (quoting Twombly, 550 U.S. at 557) ('"naked assertions' of wrongdoing necessitate

some 'factual enhancement' within the complaint to cross 'the line between possibility and

plausibility of entitlement to relief."').

   III.      Officer Buoniconti's Motion to Dismiss Plaintiff's Fourth Amendment Claim
             under 42 U.S.C. § 1983
          Plaintiffs Complaint brings a Fourth Amendment claim against Officer Buoniconti in his

individual capacity under 42 U.S.C. § 1983 "for the violation of his right to be free from



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unreasonable seizures." See DE 30136. He bases this claim on Officer Buoniconti arresting him

on the erroneous belief that he was the man named in an outstanding warrant. Plaintiff seeks

compensatory and punitive damages as well as attorney's fees. See id. ,MI 40-41.

       "Section 1983 provides a federal cause of action to redress constitutional harms committed

under color of state law." Smith v. Travelpiece, 31 F.4th 878, 882-83 (4th Cir. 2022). To state

his claim under§ 1983, Plaintiff must allege that Officer Buoniconti (1) deprived him of a right

secured by the Constitution or laws ofthe United States, and (2) that the deprivation was performed

under color of state law. See Philips v. Pitt Cnty. Mem 'l Hosp., 572 F.3d 176, 180 (4th Cir. 2009).

Officer Buoniconti does not, for this motion, dispute that he acted under color of state law. See

DE 45 at 12 (arguing that Plaintiffs claim should be dismissed "even assuming arguendo[] that

[Plaintiff] has alleged that the Moving Defendants [sic] were acting to and under color of state

law"). Instead, Officer Buoniconti argues that Plaintiff has not alleged a deprivation of any

constitutional right, see id., and that he is entitled to qualified immunity, see id. at 6. Dismissal is

not appropriate at this stage on either ground.

        A. Plaintiff adequately alleges that bis Fourth Amendment rights were violated.
        Plaintiff alleges that Officer Buoniconti violated his Fourth Amendment right to be fre.e

from unreasonable seizures. He does not challenge the validity of the Missouri warrant as to the

fugitive "Shawn L. Hill." But as alleged, neither this warrant nor any other- facially valid or

otherwise-authorized Plaintiffs arrest. Put simply, Plaintiffalleges that Officer Buoniconti acted

unreasonably when he arrested the wrong "Shawn L. Hill."

        The Supreme Court's decision in Hill v. California, 401 U.S. 797 (197 1) set a two-pronged

standard for evaluating the reasonableness of this sort of mistaken arrest. Hill held that a mistaken

arrest is valid under the Fourth Amendment if the arresting officer (1) had probable cause to arrest




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the person sought, and (2) reasonably believed that the arrestee was that person. See 401 U.S. at

802. Plaintiff does not challenge whether the warrant gave Officer Buoniconti probable cause to

arrest the fugitive "Shawn L. Hill" named therein. See, e.g., Baker v. McCollan, 443 U.S. 137,

143-44 (1979). Thus, the constitutionality of Plaintiffs arrest turns on the reasonableness of

Officer Buoniconti's belief that Plaintiff was that other man.

       Reasonableness requires "sufficient probability, not certainty." See Hill, 401 U.S. at 804.

The reasonableness of the officer's belief must be assessed objectively considering the facts

reasonably available at the time of the arrest as well as any exigencies then present. See Brown v.

Wiita, 7 F. App'x 275, 278 (4th Cir. 2001) (per curiam) (citing Pritchett v. Alford, 973 F.2d 307,

312- 13 (4th Cir. 1992)). Officers who mistakenly arrest the wrong person may, however, be held

liable if they "act in an objectively unreasonable manner in the circumstances, as for example, in

failing to investigate readily available exculpatory evidence." See id. at 279 (citing Clipper v.

Takoma Park, 876 F.2d 17 (4th Cir. 1989)).

       Viewed in the light most favorable to Plaintiff, his allegations make out a plausible claim

that Officer Buoniconti's belief was objectively unreasonable. The only alleged fact suggesting

that Plaintiff was the fugitive mentioned in the warrant is that he shares a first name, last name,

and middle initial with that other man. See Simons v. Marin Cnty., 682 F. Supp. 1463, 1472 (N.D.

Cal. 1987) ("On the basis of the evidence so far before this court, there was little if any reason,

other than a superficial congruence ofnames, to believe that the plaintiffwas in fact the man sought

by the warrant."). The Fourth Circuit recently held in a related Fourth Amendment context that a

common name, race, and sex combined with a similar criminal history did not establish the

probable cause that an investigating officer needed to obtain an arrest warrant for a person living

"near" the area of a controlled purchase. See Smith v. Munday, 848 F .3d 248, 254 (4th Cir. 2017).




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Smith's statement that "[s]uch scant evidence barely meets the threshold of 'mere suspicion,' let

alone the threshold of probable cause" for obtaining a warrant, see id., suggests that a common

name and sex would similarly fall short of the "sufficient probability" threshold for making a

reasonable arrest, see Hill, 401 U.S. at 804.

         Plaintiff also pleads with particularity several other factual allegations weighing against

the reasonableness of Officer Buoniconti's belief. The pertinent allegations can be grouped into

three categories. First, Plaintiff alleges circumstances that would have given Officer Buoniconti

little reason to suspect that he had found a fugitive from Missouri. Second, Plaintiff alleges that

the information available to Officer Buoniconti showed that he was not the "Shawn L. Hill" named

in the warrant. Finally, Plaintiff alleges that Officer Buoniconti rebuffed his efforts to provide

exculpatory evidence. The court addresses each category in turn below.

         To start, this encounter began with Plaintiff presenting himself at a state security

checkpoint and providing what he describes as "a form of government clearance." See DE 30

~~   7-8. Officer Buoniconti was presumably aware ofthese facts as he arrived at the Port's entrance

"moments" after the security officer scanned Plaintiffs credentials. See id. ,MI 9- 10. As other

courts have recognized, voluntarily approaching authorities is "hardly an expected tactic from the

subject of an outstanding warrant." See, e.g., Caceres v. Port Auth. ofNew York & New Jersey,

No. 06 CIV. 1558 (JGK), 2008 WL 4386851 , at *2, 6 (S.D.N.Y. Sept. 24, 2008) (weighing these

circumstances against the reasonableness of mistakenly arresting the plaintiff after he "voluntarily

approached" them at a Port Authority police station to retrieve an impounded vehicle).

         In contrast, a mistaken arrest is more likely to be reasonable if the officer encountered the

arrestee somewhere that he understandably expected to find the proper person. For example, the

officers sued in Mensh v. Dyer acted reasonably when they arrested the plaintiff at the address




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listed in the "arrest packet" they received with a warrant that had, in fact, been issued for the man's

same-named son. See 956 F.2d 36, 37- 39 (4th Cir. 1991). Similarly, the arresting officers in Hill

v. California encountered a man fitting the perpetrator's description inside the perpetrator's

apartment. See 401 U.S. at 799. In finding the mistaken arrest to be reasonable despite the

plaintiffs protests and discrepant identification card, the Supreme Court counted in the officers'

favor the considerable evidence connecting the perpetrator to the place where the plaintiff was

found. See id. at 803-04.

       At minimum, Plaintiffs allegations place this case in a factually distinct posture from these

reasonable mistakes. Plaintiff prompted the encounter by voluntarily approaching a state security

checkpoint. He did so nearly one thousand miles away from the jurisdiction that issued the

warrant.    And    nothing suggests that the North Carolina State Ports Authority had been

investigating this fugitive or had any reason to expect that he would appear at the Port's entrance.

If anything, the alleged circumstances weigh against Officer Buoniconti 's belief that Plaintiff was

the proper subject of the Missouri fugitive warrant.

        The second set of allegations concerns the information Officer Buoniconti had about

Plaintiff and the proper subject of that warrant. Plaintiff alleges that the confirmatory actions

Officer Buoniconti took instead supported his protests that he was not the fugitive sought. Most

notably, Plaintiffs social security card did not match the number listed on the warrant but matched

the two other government-issued identification cards he provided. See DE 30             ~   14-16. A

reasonable officer would- as Officer Buoniconti allegedly did- recognize that something was

amiss. See DE ,I 16; cf Day v. Milam, No. 1:1 1-CV-97, 2011 WL 5190809, at *2- 3 (E.D. Va.

Oct. 28, 2011) (noting that the officer did not compare the plaintiff's and fugitive's social security

numbers and birthdates before arresting the plaintiff but immediately released her after recognizing




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that they differed). Although discrepant identification cards are not necessarily dispositive, see

Hill, 401 U.S. at 803-04, this fact also weighs against the reasonableness of the arrest.

       The question thus becomes whether the other information available outweighed this

discrepancy and satisfied the "sufficient probability" threshold for a reasonable arrest.        See

generally Thompson v. Prince William Cnty. , 753 F.2d 363, 365 (4th Cir. 1985) (stating that

officers cannot be expected to "abandon obtention or execution of a warrant on someone who, for

other strong indications ... meets the warrant' s description" based on slight discrepancies). For

instance, the officers in Hill acted reasonably when they disregarded a discrepant identification

card to arrest a man closely fitting the perpetrator's physical description inside the perpetrator's

apartment. See 401 U.S. at 803- 04 (crediting, also, the officers' skepticism about the plaintiffs

evasive and unconvincing responses to their questions at the scene). Similarly, the corroborative

evidence amassed by the investigating officer in Brown v. Witta led the Fourth Circuit to find that

his ordering the arrest of the wrong "Robert Brown" was reasonable. See 7 F. App' x at 279- 80.

After receiving an arrest warrant for a man with the same name, the officer identified the plaintiff

after conducting database queries and comparing the results with information provided by an

undercover officer about the perpetrator. See id. at 279 (noting that, along with sharing the same

first and last name, the plaintiffs description in the database " closely" matched the perpetrator' s

physical description and that he was the only man by that name living in the area where the

undercover officer believed the perpetrator resided).

        Plaintiff alleges, however, that Officer Buoniconti had no other corroborating information.

See DE 30 ,rn 18, 35 (incorporating his contention that "all [Officer Buoniconti] [had] to go on is

the name"). The photograph Officer Buoniconti reviewed was of the fugitive-not Plaintiff. See

DE 30 ii 13; cf Johnson v. Hammett, No. CV ELH-18-1059, 2019 WL 7185559, at *13 (D. Md.




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Dec. 23, 2019) (noting the absence of any allegation that the officer ignored readily accessible

information about the same-named New Mexico fugitive, like a photograph, that would have

eliminated his concern that the plaintiff was that m an sought by the warrant). At this stage and

without allegations about the physical appearance of Plaintiff and the Missouri fugitive, this fact

must be weighed in Plaintiffs favor.

       Finally, before being taken to jail, Plaintiff offered what he argues to be readily available

exculpatory evidence in the form of his fingerprints. See DE 30 ml 20-21, 38; see also DE 52 at

7. Officers need not "exhaust every potentially exculpatory lead or resolve every doubt about a

suspect's guilt." Torchinsky v. Siwinski, 942 F.2d 257,264 (4th Cir. 1991). But the Fourth Circuit

has "held that a law enforcement officer's failure to pursue an easily obtainable piece of

information that could completely exculpate a suspect weighed heavily against a finding that the

officer's conduct was reasonable." Wadkins v. Arnold, 214 F.3d 535,541 (4th Cir. 2000) (quoting

Clipper, 876 F.2d at 20); see also Brown, 7 F. App'x at 279 (4th Cir. 2001). Evidence suggesting

that the officers in Clipper neither reviewed the surveillance footage they had the FBI develop nor

interviewed alibi witnesses identified by the arrestee sufficed to sustain a jury verdict against them.

See 876 F.2d at 18-20 (noting that, viewed in the plaintiffs favor, both sources of evidence

exculpated him). In contrast, the officer in Brown acted reasonably based on the other information

available to him- including a description of the suspect consistent with the plaintiffs physical

attributes- without waiting four-to-six weeks for a photograph of the plaintiff to arrive. See 7 F.

App'x at 277 n.2, 280 n.4.

        Plaintiff alleges facts falling closer to Clipper than Brown. As to complete exculpation,

Plaintiff alleges that he was released after being fingerprinted when "the results" revealed that he

was not the subject of the outstanding warrant. See DE 30 ml 30-3 1. Plaintiffs allegations also




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suggest that this exculpatory evidence would have been easily obtainable. After all, Plaintiff was

present and willing to provide his fingerprints, see id. ,i 20, and the North Carolina State Ports

Authority should have been able to talce them, see generally N.C. Gen. Stat. 15A-502 (enumerating

several circumstances under which "[i]t shall be the duty of the arresting law-enforcement agency"

to cause arrestees to be fingerprinted).

       Nothing in the Complaint suggests an exigency that would have required Officer

Buoniconti to "lock [Plaintiff] up" without investigating any further. See DE 30 ml 19-21. Other

courts finding mistaken arrests to be reasonable have emphasized the need to act quickly under

circumstances when "additional efforts to verify [the plaintiff's] identity could have given him an

opportunity to flee." See Catlin v. City of Wheaton, 574 F.3d 361, 365-66 (7th Cir. 2009)

(identifying this as one of two reasons why officers did not act unconstitutionally by arresting the

plaintiff without checking his license plates when "the defendants believed that they were

confronting a dangerous felon on a racing motorcycle in an area adjacent to a state highway").

Here, however, Plaintiff was secured in a processing room at the back of the Port. See DE 30 ,i 11;

see also id.   mI 8, 24 (alleging that Plaintiff's truck remained parked at the Port's entrance). He
had fully cooperated with Officer Buoniconti's requests to that point, see id. ,i,i 14-15, and was

asking if he could provide more evidence, see id. ,i 20. Thus, there was little risk that Plaintiff

would slip away had Officer Buoniconti taken the time to take his fingerprints or otherwise

investigate his identity.

        Taken together and in the light most favorable to Plaintiff, his Complaint plausibly alleges

that the information reasonably available to Officer Buoniconti could not support a reasonable

belief that he was the Missouri fugitive named in the warrant. In short, the allegations suggest that

Officer Buoniconti arrested Plaintiff based on a common name and another man's picture despite




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discrepant identifying information and without pursuing easily obtainable evidence that ended up

exculpating Plaintiff. He did so after Plaintiff voluntarily approached authorities and provided

government-issued clearance nearly one thousand miles away from where the warrant had been

issued. Given these factual allegations, dismissing Plaintiff s claim at this stage would approach

a position that the Missouri warrant would make reasonable the arrest of any man named "Shawn

L. Hill" an officer happened to encounter. Of course, further development ofthese facts may show

Officer Buoniconti' s decision to have been objectively reasonable. But for this motion, Plaintiffs

Complaint adequately alleges the Fourth Amendment violation necessary to state a § 1983 claim.

       B. Officer Buoniconti has not carried his burden of establishing his entitlement to
          qualified immunity.
       Officer Buoniconti also contends that qualified immunity compels the dismissal of

Plaintiffs claim against him. See DE 45 at 6. "The doctrine of qualified immunity protects

government officials 'from liability for civil damages insofar as their conduct does not violate

clearly established statutory or constitutional rights of which a reasonable person would have

known." ' Pearson v. Callahan, 555 U.S. 223, 231 (2009) (quoting Harlow v. Fitzgerald, 457 U.S.

800, 818 (1982)). "When a qualified-immunity defense is raised, [courts] apply a two-step test."

Stanton v. Elliott, 25 F.4th 227, 233 (4th Cir. 2022). The first step asks whether the facts viewed

in Plaintiffs favor make out a violation of his constitutional rights, and the second step asks

whether the violated right was clearly established. See id.

       The Fourth Circuit splits the burdens of proof for the qualified immunity defense. See id.

(citing Henry v. Purnell, 501 F.3d 374, 377-78 & n.4 (4th Cir. 2007)). Plaintiff bears the burden

of establishing a violation under the first step. See id. As explained above, Plaintiff adequately

alleges that Officer Buoniconti violated his Fourth Amendment right to be free from unreasonable

seizures. Officer Buoniconti bears the burden under the second step of proving that the right was



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not clearly established at the time and that he is therefore entitled to qualified immunity. See id.;

see also Mays v. Sprinkle, 992 F.3d 295,302 n.5 (4th Cir. 2021). He has not attempted to do so.

       Officer Buoniconti has not offered any argument that would discharge his burden. See

Santifort v. Guy, No. 4: 14-CV-225-F, 2015 WL 5242922, at *8 (E.D.N.C. Sept. 8, 2015) (denying

a motion to dismiss for the same deficiency). In support of his demand for dismissal, Officer

Buoniconti's brief "recounts a few broad principles regarding qualified immunity."

See DE 45 at 6- 8; Jamison v. Kincaid, No. 3:19CV19, 2020 WL 5414687, at *5 (E.D. Va. Sept.

9, 2020). He does not, however, "argue[] with any particularity that the alleged constitutional ...

violations were not clearly established at the time they occurred, or that an objectively reasonable

person would not have known that his actions violated [Plaintiffs] clearly established rights." See

Moxley v. Town of Walkersville, 601 F. Supp. 2d 648, 665 (D. Md. 2009); see also Dieppa v.

Clarke, No. 7:18-CV-00455, 2019 WL 2997846, at *12 (W.D. Va. July 9, 2019) (quoting Shabazz

v. Johnson, No. 3:12CV282, 2015 WL 789200, *12 n.19 (E.D. Va. Feb. 24, 2015)). Indeed,

Officer Buoniconti's briefing on qualified immunity does not reference Plaintiff's Complaint or

any authority relevant to Plaintiff's Fourth Amendment claim save for a single sentence defining

probable cause. See DE 45 at 8 (quoting Ross v. Early, 746 F.3d 546,561 (4th Cir. 2014)).

       Denying Officer Buoniconti's motion to dismiss does not require determining the precise

contours of a defendant's burden at qualified immunity's second step. Suffice to say, the ''burden

of proof," see Stanton, 25 F.4th at 233, requires more than invoking the doctrine, providing some

generic statements about its operation, and demanding dismissal, see Jamison, 2020 WL 5414687,

at *5 (quoting Prosha v. Robinson, No. 3:16cv163, 2018 WL 564855, at *7 (E.D. Va. Jan. 25,

2018)) ("Contrary to Defendants' approach to briefing, ' [a] defendant invoking qualified immunity

must do more than mention its existence and demand dismissal of the suit.'"). While the Fourth




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Circuit "prefer[s] questions of qualified immunity to be decided at the earliest possible stage in

litigation," see Raub v. Campbell, 785 F.3d 876, 881 (4th Cir. 2015) (internal quotation marks

omitted), this preference provides no basis for overriding the burden of proof precedent places on

Officer Buoniconti. He may renew and adequately support a claim of qualified immunity at a later

stage. See, e.g., Jamison, 2020 WL 5414687, at *6; Fisher v. Neale, No. 3:10CV486-HEH, 2010

WL 3603495, at *3, 3 n.6 (E.D. Va. Sept. 8, 2010). But because he has failed to carry his burden,

his motion to dismiss based on qualified immunity must be denied.

   IV.     Officer Buoniconti's Motion to Strike Plaintiff's Request for Punitive Damages
         The court construes the portion of Officer Buoniconti's motion seeking the dismissal of

"any purported claim against him by Plaintiff for punitive damages," see DE 45 at 15, to be a

motion to strike that portion of Plaintiffs request for relief. Plaintiff brings only one claim against

Officer Buoniconti-a Fourth Amendment claim against him in his individual capacity under 42

U .S.C. § 1983. See DE 30 fl 36-41; see also DE 52 at 2 n.1. Within this "First Cause of Action,"

Plaintiff states that he "brings this claim pursuant to 42 U.S.C. § 1983," see DE 30 ~ 36, and asserts

that he "seeks and is entitled to punitive damages against [Officer] Buoniconti under Chapter lD

of the General Statutes" of North Carolina, see id.     ,r 40.   Plaintiff also includes a request for

punitive damages in his prayer for relief. See id. at 10 (seeking, among other things, "[a]n award

of punitive damages against [Officer] Buoniconti, individually"). The court grants in part and

denies in part Officer Buoniconti's motion to strike this request.

         Federal Rule of Civil Procedure 12(t) allows a court, acting sua sponte or on a motion, to

"strike from a pleading an insufficient defense or any redundant, immaterial, impertinent, or

scandalous matter." Fed. R. Civ. P. 12(t). Generally, such motions "are only granted when the

challenged allegations have no possible relation or logical connection to the subject matter of the




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controversy' or cause some form of significant prejudice to one or more of the parties to the

action." See Faulkner v. York Cnty. Sch. Dist., No. 0:21-CV-02090-JMC, 2022 WL 673684, at

*3 (D.S.C. Mar. 7, 2022) (internal quotation marks omitted). When reviewing a motion to strike,

''the court must view the pleading under attack in a light most favorable to the pleader." See id.

       Plaintiff does not bring any claim under North Carolina law against Officer Buoniconti.

See DE 30 mf 36-41; see also DE 52 at 2 n.1. He cannot recover punitive damages under Chapter

1D of the General Statutes without an underlying state law cause of action. See Anderson v. S.

Health Partners, Inc., No. 4:20-CV-00095-M, 2020 WL 6326098, at *6 (E.D.N.C. Oct. 28, 2020)

(dismissing a purported "claim" for punitive damages where all other state law causes of action

against the defendant had been dismissed because a request for punitive damages cannot exist as

an independent cause of action). Thus, Plaintiff's assertion of his entitlement to damages under

Chapter 1D of the General Statutes, see DE 30 ,r 40, will be stricken from his Complaint.

       Plaintiff has, however, sought punitive damages in his prayer for relief under a federal

cause of action that can support such an award. Plaintiff seeks punitive damages in his prayer for

relief for his claim under 42 U.S.C. § 1983 against Officer Buoniconti in his individual capacity.

See DE 30 at I 0. Punitive damages from officers in their individual capacity are "available in

section 1983 actions for conduct that involves 'reckless or callous indifference to the federally

protected rights of others,' as well as for conduct motivated by evil intent." See Cooper v. Dyke,

814 F.2d 941,948 (4th Cir. 1987) (quoting Smith v. Wade, 461 U.S. 30, 56 (1983)).

       Officer Buoniconti contends that Plaintiff "fails to allege or describe any facts" that would

merit an award of punitive damages. See DE 45 at 15 (quoting Cooper, 814 F.2d at 948 (4th Cir.

1987)). Plaintiff alleges that Officer Buoniconti acted in ''willful and wanton disregard for [his]

rights." See DE 30 ,r 40. He also alleges that Officer Buoniconti recognized that his confirmatory




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efforts showed Plaintiff not to be the subject of the warrant, see id.   fl 13- 16, and disregarded a
statutory obligation to take his fingerprints after Plaintiff asked to provide them, see id.   fl 20-21,
38. Although his allegations of reckless conduct are relatively sparse, they suffice at this early

stage to allow the issue of punitive damages to go forward. Thus, what the court construes to be

Officer Buoniconti' s motion to strike is granted as to Plaintiffs reference to Chapter 1D of the

General Statutes but denied as to his request for punitive damages under 42 U.S.C. § 1983 in his

prayer for relief.


   V.      Sheriff McMahon's Motion to Dismiss Plaintiff's Common Law Negligence Claim
        Plaintiff brings a negligence claim under North Carolina law against Sheriff McMahon in

his official capacity See DE 3013 (citing N.C. Gen. Stat. §§ 58-76-5 and 153A-435). Plaintiff

claims that Sheriff McMahon can be held liable for the actions and omissions ofhis officers under

the doctrine of respondeat superior. See id. He also contends that Sheriff McMahon waived any

immunity from this claim by purchasing a surety bond. See id. Plaintiff invokes the court's

supplemental jurisdiction under 28 U.S.C. § 1367, "as this state law claim arises from the same

case or controversy" as his Fourth Amendment claim against Officer Buoniconti. See id. 1 5.

        Sheriff McMahon does not challenge these contentions for this motion, see, e.g., DE 34 at

4 n.3, but maintains that Plaintiff has failed to state a negligence claim on which relief can be

granted, see id. at 6. Plaintiff argues that Sheriff McMahon breached a duty to protect his

constitutional rights by failing to investigate his potentially exculpatory evidence during his

pretrial detention in Sheriff McMahon's custody. See generally DE 43 at 11. The court determines

that Plaintiff has not alleged a breach of Sheriff McMahon's duties to him as those have been

interpreted under North Carolina law and dismisses his negligence claim without prejudice.




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       To resolve Plaintiffs common law negligence claim, the court applies the federal pleading

standards set out above and North Carolina substantive law. See Kerr v. Marshall Univ. Bd. of

Governors, 824 F.3d 62, 74 (4th Cir. 2016). As to the latter, the court must "apply the governing

state law, or, if necessary, predict how the state's highest court would rule on an unsettled issue."

See Askew v. HRFC, LLC, 810 F.3d 263,266 (4th Cir. 2016); see also Fontenotv. Taser Int 'l, Inc. ,

736 F.3d 318, 326 (4th Cir. 2013) (requiring this prediction because no mechanism exists for

certifying questions of unsettled state law to the Supreme Court of North Carolina). Without a

controlling decision by the Supreme Court of North Carolina, the court may consider opinions by

the North Carolina Court of Appeals, treatises, and "the practices of other states." See Twin City

Fire Ins. Co. v. Ben Arnold-Sunbelt Beverage Co. ofS.C., 433 F.3d 365,369 (4th Cir. 2005). That

said, the Fourth Circuit has repeatedly cautioned district courts against creating or expanding state

common law when making these predictions. See, e.g., Time Warner Ent.-Advance/Newhouse

P 'ship v. Carteret-Craven Elec. Membership Corp., 506 F .3d 304, 314-15 ( 4th Cir. 2007) (quoting

Mitcheson v. Harris, 955 F.2d 235,238 (4th Cir. 1992)).

       To state a claim for North Carolina common law negligence, Plaintiff must allege: (1) a

legal duty; (2) a breach thereof; and (3) injury proximately caused by the breach. Fussell v. N

Carolina Farm Bureau Mut. Ins. Co., 364 N.C. 222, 226, 695 S.E.2d 437, 440 (2010). Put

differently, "[a]ctionable negligence arises when there is a violation of some legal duty owed by a

defendant to a plaintiff, . .. and in the absence of any such duty owed the injured party by the

defendant, there can be no liability." Hedrick v. Rains, 121 N.C. App. 466, 469,466 S.E.2d 281,

283, ajf'd per curiam, 344 N .C. 729,477 S.E.2d 171 (1996) (internal citations and quotation marks

omitted). As to establishing a breach of a duty, law enforcement officers sued for negligence are

"held to the standard of care that a reasonably prudent person would exercise in the discharge of




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official duties of a like nature under like circumstances." See Best v. Duke Univ., 337 N.C. 742,

752, 448 S.E.2d 506, 511 (1994).

       Sheriff McMahon agrees that he owed Plaintiff an affirmative duty by virtue of Plaintiffs

pretrial detention in his custody at the New Hanover County Jail. See DE 34 at 10 (acknowledging

that this established a "special relationship" with Plaintiff). As a sheriff, his "responsibilities are

defined both by statute and by the common law." See Baker v. Smith, 224 N.C. App. 423, 428,

73 7 S.E.2d 144, 148 (2012). The parties disagree as to the scope of the duty owed and whether

Plaintiff adequately alleges a breach thereof.

        Plaintiff alleges that Sheriff McMahon "owed [him] a duty of reasonable care to investigate

the details of [his] exculpatory evidence." See DE 30 ,r 43. He contends that, "at minimum," this

required Sheriff McMahon's officers to take his fingerprints to determine whether he was the man

identified in the fugitive warrant after he told them "multiple times" that he had not yet been

fingerprinted.   See id.   Plaintiff suggests three sources for the alleged duty to investigate

exculpatory evidence--statutory directives, see DE 30 ,r 44; the magistrate's order, see id.; and the

common law duty of ordinary care vis-a-vis his constitutional rights, see DE 43 at 7- 11 . Sheriff

McMahon maintains that he complied with all applicable duties. See DE 49 at 3-4.

       The court dispenses first with the argument that Sheriff McMahon violated a statutory

directive to take Plaintiffs fingerprints or otherwise investigate his claims. See DE 30         ,r 44.
Sheriffs' statutory duties are set out in Article 3 of Chapter 162 of the General Statutes. Section 22

charges Sheriff McMahon with the "care and custody" of the New Hanover County Jail but

imposes no more specific obligation applicable here. See N.C. Gen. Stat. § 162-22. Plaintiff,

instead, points to N.C. Gen. Stat.§ 15A-502. See DE 30 ,r 44.




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          Even if§ 1SA-502 imposes duties enforceable by pretrial detainees in tort, this section did

not require Sheriff McMahon to take Plaintiff's fingerprints. Section 1SA-502 generally makes

the "arresting law-enforc.ement agency" responsible for ensuring that arrestees are fingerprinted.

See N.C. Gen. Stat. § lSA-502. As alleged, that agency would be the North Carolina State Ports

Authority. See DE 30112, 10. Subsection (f) does provide for a court "order[ing] the defendant

to submit to fingerprinting by the Sheriff or other appropriate law enforcement agency at the

earliest practical opportunity." See N.C. Gen. Stat.§ 15A-502(f). But this subsection applies only

to persons who are "charged with an offense for which fingerprints are required pursuant to this

section but the person is not arrested for that offense." See id. Nothing here suggests that this

subsection applies as Plaintiff alleges only that he was arrested in connection with an out-of-state

fugitive warrant naming another man. See DE 30 iMJ 22-23.

          Nor does the magistrate's order support the obligation Plaintiff alleges.             Plaintiff

emphasizes that the order required him to provide his fingerprints under N.C. Gen. Stat. § l SA-502.

See id.   ,rn 26, 44.   But the order required that Plaintiff do so "[p]rior to release," which the order

stated was "not authorized." See DE 30- 1 at 2. As to Sheriff McMahon, the order directed him

only to receive Plaintiff into his custody and to "produce [him] in Court as provided above" if he

"is not sooner released." See id. Consistent with this directive, his officers detained Plaintiff at

the New Hanover County Jail after being served with a copy of this order. See DE 30126.

          This leaves only the common law duty ofordinary care owed by virtue ofPlaintiffs pretrial

detention in Sheriff McMahon's custody. The "duty of ordinary care is no more than a duty to act

reasonably" and "extends only to causes of injury that were reasonably foreseeable and avoidable"

through its exercise. See Fussell, 364 N.C. at 226,695 S.E.2d at 440. By taking Plaintiff into his

custody, Sheriff McMahon agrees that he accepted an obligation to provide for Plaintiff's "safety




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and general well-being." See DE 49 at 4 (citing Multiple Claimants v. N Carolina Dep 't ofHealth

& Hum. Servs ., 176 N.C. App. 278, 295, 626 S.E.2d 666, 677 (2006), aff'd as modified sub nom.

Multiple Claimants v. N Carolina Dep 't ofHealth & Hum. Servs. , Div. ofFacility Servs., Jails &

Det. Servs., 361 N.C. 372,646 S.E.2d 356 (2007)) (quoting DeShaney v. Winnebago Cnty. Dep'[t

of Soc. Servs. , 489 U.S. 189, 199-200 (1989))). No allegation suggests that Sheriff McMahon

violated this duty as it has been interpreted under North Carolina law.

       Cases from North Carolina courts addressing sheriffs' liability to persons held in their

custody have focused on failures to provide reasonable protection from physical perils or

deprivations. See, e.g., Multiple Claimants, 361 N.C. at 379, 646 S.E.2d at 361 (acknowledging

that the county was primarily responsible for the " health and safety of the inmates" in the jail

because "inmates in custody necessarily have limited freedom to provide for themselves or to

protect themselves from external dangers such as fire"); State ex rel. Williams v. Adams, 288 N.C.

50 1,504, 219 S.E.2d 198,200 (1975)(citing Dunn v. Swanson, 217 N.C. 279, 7 S.E.2d 563 (1940))

(summarizing with approval a note suggesting that Dunn was "in accord with the general rule that

'a prison official is liable when he knows of, or in the exercise of reasonable care should anticipate,

danger to the prisoner, and with such knowledge or anticipation fails to take the proper precautions

to safeguard his prisoners.'"); Dunn, 217 N.C. at 279, 7 S.E.2d at 563 (recognizing that a sheriff

and the surety on his bond could be held liable for his officers negligently placing a prisoner who

was "in a weak, sick, and helpless condition" in the same cell as the violently insane inmate who

killed him); Spicer v. Williamson, 191 N.C. 487, 487, 132 S.E. 291, 294 (1926) (recognizing a

sheriff's duty to "procure proper medical attention for his prisoner" when confronted with an

"emergency"); State v. Jones, 4 1 N.C. App. 189, 191, 254 S.E.2d 234, 236 (1979) (recognizing

that the officer with charge of the jail premises and prisoners had the duty to "investigate or 'check'




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on the prisoners in his charge and any disturbance on the premises" in a case involving a jailhouse

assault). At least one North Carolina decision referenced the United States Supreme Court's

statements on the "special relationship that arises from imprisonment." See Multiple Claimants,

176 N.C. App. at 295,626 S.E.2d at 677 (quotingDeShaney, 489 U.S. at 199- 200). But again,

the statement cited pertained to plaintiffs who are ''unable to care for [themselves]" and deprived

of "basic human needs-e.g., food, shelter, medical care, and reasonable safety." See id. Plaintiff

makes no allegation that Sheriff McMahon failed to provide for these "basic human needs."

       Plaintiff instead argues that Sheriff McMahon breached a "duty to protect [his] substantive

due process rights" by not promptly taking his fingerprints and comparing them to those of the

individual connected with the fugitive warrant on which he was ordered detained by the magistrate.

See DE 43 at 9. He bases his contention in dicta about possible due process violations in Baker v.

McCollan, 443 U.S. 137 (1979) and decisions from other circuits extending these statements in

cases involving constitutional claims. See DE 43 at 7-9 (collecting cases). Sheriff McMahon

stresses that Plaintiff cites no decision interpreting North Carolina law that allowed a negligence

claim to proceed based on these federal civil rights decisions. See DE 49 at 3.

       Plaintiff does not cite-nor has this court found- any decision interpreting North Carolina

law to include within a sheriff's duty of ordinary care the investigation of evidence that might

exculpate a pretrial detainee committed to his custody on a magistrate's order. Baker held that

deputies detaining a man who had been mistakenly named in an arrest warrant had no

constitutional obligation to independently investigate every claim of innocence. See 443 U.S. at

143-44, 145-46. In holding that the plaintiff's detention did not support a constitutional claim,

the United States Supreme Court did not comment on "[w]hatever claims this situation might give

rise to under state tort law." See 443 U.S. at 144. The Court went on to "assume, arguendo" that




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indefinite detention of a person protesting his innocence could eventually amount to a due process

violation "depending on what procedures the State affords." See id. at 145. But irrespective of

whatever relief might now be available under a constitutional claim,4 Baker's conditional

assumption about the possibility of a constitutional violation has not been recognized under North

Carolina law as the basis for an obligation enforceable by pretrial detainees in a negligence action.

        This absence of any North Carolina case law supporting Plaintiff's position is "significant

because in construing the common law of a state," the Fourth Circuit has "declined to expand state

common law principles to encompass novel circumstances when the courts of that state have not

done so first." See Fontenot, 736 F .3d at 33 1 ( citing Time Warner Ent. -Advance/Newhouse P 'ship,

506 F.3d at 314-15. It would expand North Carolina law to allow a negligence claim against

Sheriff McMahon to proceed based on an alleged obligation to investigate exculpatory evidence

that no case interpreting North Carolina law has recognized. See id. (refusing to apply a common

law contributory negligence defense to a new context for the same reasons). As a result, Plaintiff's

negligence claim must be dismissed.

        No allegation suggests a violation of the duty of care Sheriff McMahon owed to Plaintiff

as that duty has been interpreted under North Carolina law. Plaintiffs argument that this duty also

required him to investigate evidence that might exculpate pretrial detainees held in his custody

finds no support in any decision interpreting North Carolina law. Even if Sheriff McMahon's duty

could include this obligation, "this court cannot now be the first to pronounce so." See Bauer v.




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  The Supreme Court has since held that the Fourth Amendment, rather than the Due Process
Clause, governs constitutional claims about unlawful pretrial detention. See Manuel v. City of
Joliet, Ill., 13 7 S. Ct. 911, 919- 20 (2017); see also Smith, 31 F.4th at 885 (quoting Manuel, 13 7 S.
Ct. at 919- 20) (noting that Manuel held that a Fourth Amendment detention claim cannot be
"convert[ed)" into a due process claim).



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Charter Sch. USA, Inc., No. 5:21-CV-492-FL, 2022 WL 2721339, at *3 (E.D.N.C. July 13, 2022)

(quoting Time Warner Ent.-Advance/Newhouse P'ship, 506 F.3d at 314). Sheriff McMahon's

motion is thus granted, and Plaintiff's negligence claim against him is dismissed without prejudice.

   VI.      Ohio Casualty's Motion to Dismiss Plaintiff's Statutory Claim
         Plaintiff asserts a statutory claim against the surety bond issued to Sheriff McMahon by

Ohio Casualty under N.C. Gen. Stat. §§ 58-76-5 and 162-50. See DE 30 ,r 49. These statutes

provide that "[e]very person injured by the neglect, misconduct, or misbehavior in office of any

... sheriff ... may institute a suit or suits against said officer" and the surety on his bond. See

N.C. Gen. Stat. § 58-76-5. Thus, Plaintiff may "maintain suit against a public officer and the

surety on his official bond for acts of negligence in performing his official duties." See Smith v.

Jackson Cty. Bd. of Educ., 168 N.C. App. 452, 468-69, 608 S.E.2d 399, 411 - 12 (2005).          That

said, the parties agree that statutory claims against sureties "rise and full upon the underlying

claims asserted against the sheriff." See DE 41 at 4 (citing Hensley v. Suttles, 167 F. Supp. 3d 753,

769 (W.D.N.C. 2016), aff'd sub nom. Hensley on behalfofN Carolina v. Price, 876 F.3d 573 (4th

Cir. 2017)); DE 43 at 2 (citing DE 41 at 4). Ohio Casualty's motion is thus granted based on the

dismissal of Plaintiff's underlying negligence claim against Sheriff McMahon.

   VII.     Conclusion
          In sum, Plaintiff's action will proceed only against Officer Buoniconti.           Officer

Buoniconti's motion [DE 44] is GRANTED IN PART AND DENIED IN PART. Plaintiff

adequately alleges that Officer Buoniconti violated his Fourth Amendment rights, and Officer

Buoniconti has not established his entitlement to qualified immunity. Officer Buoniconti's motion

to dismiss Plaintiff's claim is thus denied without prejudice to his reassertion of a qualified

immunity defense at a later stage. What the court construes as Officer Buoniconti's motion to

strike Plaintiffs request for punitive damages is granted only as to Plaintiffs reference to Chapter



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lD of the General Statutes. Punitive damages may be available under 42 U.S.C. § 1983 upon an

appropriate showing. The order staying discovery [DE 50] is thus LIFTED as to this claim.

       Sheriff McMahon's motion to dismiss [DE 33] is GRANTED, Plaintiff's common law

negligence claim against him is DISMISSED WITHOUT PREJUDICE, and Sheriff McMahon is

DISMISSED from this action. As a result of this dismissal, Ohio Casualty's motion to dismiss

[DE 40] is GRANTED, Plaintiff's claims against it are DISMISSED, and Ohio Casualty is

DISMISSED from this action. ~

       SO ORDERED this z:f_ day of August, 2022.




                                                Q.L. .-1[ M,~5 ~
                                                  RICHARD E. MYERS II
                                                  CHIEF UNITED STATES DISTRICT JUDGE




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